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 1                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2
       - - - - - - - - - - - - - - - x
 3     THE UNITED STATES OF AMERICA,
                                             Criminal Action No.
 4                     Plaintiff,            1:21-cr-00034-CRC
                                             Thursday, February 25, 2021
 5     vs.                                   1:33 p.m.

 6     THOMAS ROBERTSON and
       JACOB FRACKER,
 7
                     Defendant(s).
 8     - - - - - - - - - - - - - - - x
       ____________________________________________________________
 9
                    TRANSCRIPT OF ARRAIGNMENT HEARING
10            HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________
       APPEARANCES:
12
       For the United States:            RISA BERKOWER, ESQ.
13                                       ELIZABETH ANN ALOI, ESQ.
                                         UNITED STATES ATTORNEY'S OFFICE
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19     For Defendant Fracker:            BERNARD F. CRANE, ESQ.
                                         LAW OFFICES OF BERNARD F. CRANE
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22     Court Reporter:                   Lisa A. Moreira, RDR, CRR
                                         Official Court Reporter
23                                       U.S. Courthouse, Room 6718
                                         333 Constitution Avenue, NW
24                                       Washington, DC 20001
                                         202-354-3187
25
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 1                             P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:      Your Honor, we're on the

 3     record for Criminal Case 21-34, United States of America vs.

 4     Thomas Robertson and Jacob Fracker.

 5                 Counsel, please identify yourselves for the

 6     record.

 7                 MR. ROLLINS:    Mark Rollins for Thomas Robertson

 8     appearing by WebEx video -- I mean, Zoom video.

 9                 MS. BERKOWER:    Good afternoon, Your Honor; Risa

10     Berkower for the government.

11                 MS. ALOI:    Good afternoon; Liz Aloi, also for the

12     government.

13                 THE COURT:    And for Mr. Fracker, who is appearing?

14                 Mr. Crane, you're on mute.

15                 You're still on mute, or you have your mic

16     disconnected.    We cannot hear you.

17                 MR. CRANE:    Thank you.   Bernard Crane on behalf of

18     Mr. Fracker.

19                 THE COURT:    There you go.

20                 Mr. Robertson, Mr. Fracker, I can see you.         Can

21     you see and hear me?

22                 DEFENDANT FRACKER:     Yes, sir.

23                 DEFENDANT ROBERTSON:     Yes, sir, I can.

24                 THE COURT:    Okay.   Good afternoon to you both.

25                 Obviously we would ordinarily do this in person
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 1     here in the courtroom, but because of the pandemic we have

 2     been doing these proceedings remotely in the interest of

 3     public safety.    Have you all discussed that with your

 4     lawyers, and do you consent to proceed by remote video this

 5     afternoon?

 6                  Let's start with Mr. Robertson.

 7                  DEFENDANT ROBERTSON:    Yes, sir, I have, and I do.

 8     Yes, sir, I have and I do.

 9                  THE COURT:   All right.   Mr. Fracker.

10                  DEFENDANT FRACKER:    Yes, sir, absolutely.

11                  THE COURT:   All right.   Very well.

12                  I know this process can be a little bit confusing

13     to defendants, to appear before multiple judges, but now

14     that the case has been formally charged, I have been

15     assigned randomly to preside over it.        So I will be your

16     judge, absent extraordinary circumstances, from here on out.

17                  Today's proceeding is an arraignment, which is the

18     proceeding in which we accept your plea to the charges

19     against you.    Before we do that, I will need to ask you a

20     few questions.    It's nothing personal.      I just need to

21     satisfy myself that you all are competent to enter a plea

22     this morning and that you understand the nature of the

23     charges and the proceeding that we're undertaking this

24     afternoon.

25                  So before we do that, if you can both raise your
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 1     hand, the courtroom deputy will place you under oath.

 2                  (Defendants sworn)

 3                  THE COURT:   All right.   So let's just keep that

 4     order.   Mr. Robertson is listed first, so why don't you

 5     respond to the Court's questions first, and then we'll

 6     follow with Mr. Fracker.

 7                  Mr. Robertson, have you been furnished the charges

 8     against you?    Have you read the indictment?

 9                  DEFENDANT ROBERTSON:    Yes, sir, I have.

10                  THE COURT:   And have you been able to review it

11     with your lawyer, Mr. Rollins?

12                  DEFENDANT ROBERTSON:    I have.

13                  THE COURT:   All right.   Mr. Rollins, does your

14     client waive formal reading of the indictment?

15                  MR. ROLLINS:   We do, Your Honor.

16                  THE COURT:   All right.   Mr. Robertson, state your

17     full name, please.

18                  DEFENDANT ROBERTSON:    Thomas Jarrett Robertson.

19                  THE COURT:   And how old are you, sir?

20                  DEFENDANT ROBERTSON:    I'm 47.

21                  THE COURT:   And how far did you go in school?

22                  DEFENDANT ROBERTSON:    I'm a college graduate,

23     four-year.

24                  THE COURT:   Okay.   Where did you go to college?

25                  DEFENDANT ROBERTSON:    Virginia Tech.
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 1                 THE COURT:   All right.    So you're a Hokie, huh?

 2                 DEFENDANT ROBERTSON:     Yes, sir.    Yes, sir, I am.

 3     I don't identify with them as strongly as some people do,

 4     but I am.

 5                 THE COURT:   Got it.    And where are you employed,

 6     sir?

 7                 DEFENDANT ROBERTSON:     I am no longer employed.    I

 8     was employed with the Town of Rocky Mount Police Department.

 9     As a result of these charges, I've been terminated.

10                 THE COURT:   All right.    Have you taken any drugs

11     or alcohol in the last 24 hours that would impair your

12     ability to understand what's going on this afternoon?

13                 DEFENDANT ROBERTSON:     No, sir, I have not.

14                 THE COURT:   Same question with respect to any

15     medications, either prescription or over-the-counter?

16                 DEFENDANT ROBERTSON:     No, sir.

17                 THE COURT:   And you're obviously here, virtually

18     at least, with Mr. Rollins.       Have you been satisfied with

19     his services thus far in the case?

20                 DEFENDANT ROBERTSON:     Yes, sir, 100 percent.

21                 THE COURT:   Okay.

22                 Counsel, any competency issues?

23                 MR. ROLLINS:    No, Your Honor.

24                 THE COURT:   Mr. Rollins, would you like to enter a

25     plea for your client?
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 1                  MR. ROLLINS:   Yes, and at this time we'll enter a

 2     plea of not guilty to these charges.

 3                  THE COURT:   Very well.

 4                  All right.   Mr. Fracker, you're up.      Same

 5     questions.

 6                  Have you been furnished with a copy of the

 7     indictment in this case?

 8                  DEFENDANT FRACKER:    Yes, sir.

 9                  THE COURT:   And have you had a chance to review it

10     with Mr. Crane?

11                  DEFENDANT FRACKER:    Yes, sir, we have.

12                  THE COURT:   And can you state your full name for

13     the record.

14                  DEFENDANT FRACKER:    Jacob Malone Fracker.

15                  THE COURT:   And how old are you, sir?

16                  (Pause)

17                  THE COURT:   I'm sorry, we didn't pick that up.

18                  DEFENDANT FRACKER:    I'm 29 years old, sir.

19                  THE COURT:   Okay.   And how far did you go in

20     school?

21                  DEFENDANT FRACKER:    I have some college.

22                  THE COURT:   Okay.   And were you employed at the

23     same police department as Mr. Robertson?

24                  DEFENDANT FRACKER:    Yes, sir, I was.

25                  THE COURT:   Okay.   Same questions.    Any drugs,
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 1     alcohol, medications, either prescription or over-the-

 2     counter, that would impair your ability to understand what's

 3     going on this afternoon or concentrate during these

 4     proceedings?

 5                 DEFENDANT FRACKER:     No, sir, not at all.

 6                 THE COURT:   And have you been happy with

 7     Mr. Crane's services thus far in the case?

 8                 DEFENDANT FRACKER:     Yes, sir, absolutely.

 9                 THE COURT:   Counsel, any competency issues?

10                 MR. CRANE:   (No verbal response)

11                 THE COURT:   Okay.    Hearing none, Mr. Crane, would

12     you like to enter a plea for your client?

13                 All right.   We just lost Mr. Crane, so why don't

14     we wait momentarily until we can reestablish our connection

15     with him.

16                 (Pause)

17                 THE COURT:   Okay.    We're working on it, folks.

18     Just bear with us.

19                 (Pause)

20                 MR. CRANE:   Your Honor, I apologize.       I don't know

21     what happened.    My computer just died.

22                 THE COURT:   Okay.    Well, we got you back by phone

23     at least.    We were just at the point of -- I inquired of

24     counsel whether there were any competency concerns regarding

25     Mr. Fracker.
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 1                  MR. CRANE:   No, Your Honor.

 2                  THE COURT:   Okay.     And do you wish to enter a plea

 3     on behalf of Mr. Fracker?

 4                  MR. CRANE:   Yes.    On behalf of Mr. Fracker, we

 5     waive formal reading of the indictment, enter a plea of not

 6     guilty as to each independent charge, and demand a speedy --

 7     we would request a speedy jury trial.

 8                  THE COURT:   All right.

 9                  Okay.   From the government, where do things stand?

10                  MS. BERKOWER:   Good afternoon, Your Honor.       I

11     think the government has received requests from the defense

12     to get discovery in this case, and we responded by sending

13     them a proposed protective order to be able to provide that

14     discovery.    I think we received word back from them that

15     they have some objections to that, and so we anticipate

16     filing a motion for that protective order, and then they can

17     respond with their concerns.

18                  THE COURT:   Okay.     Mr. Rollins, do you want to

19     summarize the issues with the protective order for me?

20                  MR. ROLLINS:    Yes.   So there were just two issues

21     for us.    One was they wanted to restrict any footage that

22     was taken at the Capitol, and without more precise language

23     of actually what they're -- why they're making that request,

24     we weren't -- I'm just not going to give them a blanket

25     request.
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 1                 They basically just proposed this but didn't tell

 2     us what the information is that they're trying to protect.

 3     So we needed more information about what they're trying to

 4     restrict in terms of the footage from the Capitol Hill -- on

 5     the Capitol video footage.

 6                 And then the second was just the body-worn camera

 7     footage.   Again, the same objection, that we need a more

 8     specific or particularized issue that they're trying to

 9     protect.   They've just kind of given us a blanket all-body-

10     worn camera footage.     We don't believe it's sufficient, and

11     pursuant to Rule 16 I don't think they can just kind of

12     blanketly put those things in there.

13                 In terms of the --

14                 THE COURT:   I'm sorry, just let me back up.         Have

15     you requested, you know, every stitch of footage, either

16     body-worn or surveillance, that -- even if it does not

17     involve your client?

18                 MR. ROLLINS:    So no, we just basically said body-

19     worn camera footage or video footage relating to that

20     incident, to that day.      So maybe that does kind of

21     generally -- it is a broad request, yes.         It is a broad

22     request on our part.

23                 THE COURT:   Okay.    Ms. Berkower.

24                 MS. BERKOWER:    Yes, Your Honor.     And I should

25     clarify what I said a moment earlier, which is we did
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 1     provide very limited discovery, but we did provide some

 2     discovery to the defense even prior to this hearing.

 3                 It's my understanding, Your Honor, that the U.S.

 4     Attorney's Office is trying to work out a protective order

 5     that will cover all of the different cases arising from the

 6     incident at the Capitol on January 6th, and so the proposed

 7     order that we sent to defense counsel and that we'd like to

 8     file with the Court is an order that we expect to enter in a

 9     lot of these cases, and I think if the defense in this case

10     has particularized objections to that, that's something we

11     would prefer to just litigate in writing so that we can have

12     a unified response throughout the office.

13                 And with regard to Mr. Rollins's concern about

14     requesting all of the video footage throughout the day, I

15     think that's something of course we're willing to work with

16     him on, to target any particular footage that he may be

17     interested in just in terms of being able to build his own

18     defense.    I know he's not required to do that, of course,

19     but that's something, of course, we're willing to work with

20     him on.

21                 THE COURT:    Okay.   Obviously the scope of the

22     protective order relates to, you know, all of these Capitol

23     cases, and so I would ordinarily tell you just to get

24     together and work it out on your own, but I understand the

25     point that there, you know, should be some uniformity and
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 1     that it would be better to try to achieve that through

 2     written briefing, if necessary.

 3                 So if disputes remain, just file a motion, and

 4     we will resolve it one way or the other.         But let's clear

 5     out the wheat from the chaff efficiently, and let's get this

 6     protective order issue behind us as soon as we can so that

 7     we can get the defense the discovery that they're entitled

 8     to, okay?

 9                 MS. BERKOWER:    Yes.   Thank you, Judge.

10                 THE COURT:    Okay.

11                 All right.    So have you all talked about a further

12     status date?

13                 MR. ROLLINS:    No, I don't think we resolved that.

14                 THE COURT:    All right.    Why don't we at least set

15     a placeholder.     I'd like to try to check in at least 30, 45

16     days from now.     Can we do the week of April 27th?

17                 Ms. Jenkins -- how about April 27th at 10:00 a.m.?

18     Counsel, does that work for you?

19                 MR. ROLLINS:    That works for me.

20                 MR. CRANE:    Give me one second.     I'm sorry, that

21     was April 22nd?

22                 THE COURT:    27th, two-seven.

23                 MR. CRANE:    27th.   That's fine.    At 10:00 a.m.?

24                 THE COURT:    Yes, sir.

25                 MS. BERKOWER:    That's fine with the government,
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 1     Your Honor.

 2                  THE COURT:   Okay.    And Mr. Crane, did I hear you

 3     to object to a speedy trial waiver?

 4                  MR. CRANE:   Your Honor, I made a -- I renewed

 5     Mr. Fracker's speedy trial request; however, I did not -- I

 6     do not object to the waiver that we had initially made.

 7                  THE COURT:   Okay.    And have you spoken to

 8     Mr. Fracker about that?

 9                  MR. CRANE:   I have.

10                  THE COURT:   Okay.    And, Mr. Rollins, same

11     question?

12                  MR. ROLLINS:   Yes.    I don't have an objection

13     right now.    Since they're on personal recognizance, I don't

14     mind tolling.

15                  THE COURT:   Okay.    The Court will set a further

16     status conference in this matter for April the 27th at 10:00

17     a.m., and hearing no objection from the defense, the Court

18     will exclude the time between now and then from the

19     otherwise applicable speedy trial calculations in the

20     interest of justice to enable the defense to receive and

21     review the discovery that it is entitled to and that is

22     forthcoming once we resolve this protective order issue.

23                  Gentlemen, you're obviously released on your own

24     recognizance pending trial under certain conditions.

25     Pretrial services will provide me a report in the event that
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 1     any of those conditions are violated.         Needless to say, I

 2     would like to avoid being in the position of having to

 3     determine whether any violations of your conditions require

 4     your detention, so please don't put me in that position and

 5     don't put yourselves in that position and continue to comply

 6     with your conditions, okay?

 7                 MR. CRANE:    Excuse me, Your Honor.      I have an

 8     issue that I wanted to bring up on that one concern with

 9     regard to Mr. Fracker.

10                 MR. ROLLINS:    I think it's the same issue with

11     Mr. Robertson as well.

12                 MR. CRANE:    In the initial order, it was checked

13     not to get a firearm or other weapon.         Mr. Fracker, as you

14     know, is an ex-police officer -- up until just a few days

15     ago was a police officer in the community that he lives in

16     in Rocky Mount.     He's made many, many arrests of violent and

17     dangerous people over his career there.         He needs his

18     firearms for personal protection.        It's not really fair to

19     have this man working to protect the safety of his

20     community, having small children and his family at risk now

21     from people who can check into this record and see the

22     conditions and see that he is -- he's completely

23     unprotected.

24                 THE COURT:    Ms. Berkower?

25                 MS. BERKOWER:    Your Honor, I think the government
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 1     thinks that the conditions imposed on the defendant at the

 2     time of his release were fully appropriate given the

 3     seriousness of the charges and some of the evidence in the

 4     case in which -- and I know the -- I think both defendants

 5     plan to assert this request, but both of them discussed acts

 6     of violence in connection with this, including acts of

 7     future violence, and so in the government's view the

 8     condition that they don't have firearms pending trial, as is

 9     the case in pretty much every felony case that's charged

10     before the Court where such a condition would be imposed,

11     that that is completely appropriate and should remain

12     intact, and we would oppose any modification to that.

13                 I know that Mr. Crane mentioned sort of general

14     references about concerns for his client's safety, but I

15     didn't hear in that any specific threat that's been

16     identified at this time, and I think, if that changes,

17     that's something he could revisit.        But just a generalized

18     concern is something that we don't think would overcome the

19     need for that condition here.

20                 MR. CRANE:    Your Honor, I'd like to be heard on

21     that.

22                 THE COURT:    Well, let me cut this short.          I will

23     reserve on that question.       I have not examined the evidence

24     supporting the complaint and the statements that the

25     government has referred to, and I am disinclined to grant
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 1     the motion, but I will entertain a written motion to modify

 2     the conditions based on the arguments that you've made

 3     today.

 4                 And, Ms. Berkower, if you want to respond to that

 5     and point out the evidence that you referred to in court

 6     today, I will certainly review that and make a decision.

 7                 So let's reserve that, but I'm happy to entertain

 8     a written motion by either defendant, okay?

 9                 MR. CRANE:    Your Honor, I'd prefer to make that

10     under seal, if the Court doesn't have a problem with that.

11                 THE COURT:    That's fine.    As long as you have a

12     legitimate basis for putting it under seal, and I assume

13     that that is -- that would relate to specific threats of the

14     nature that you've described generally.         But just make sure

15     that there's a colorable basis for a sealed filing.

16                 Obviously, you know, the public has a general

17     interest in these matters and is entitled to know, you know,

18     what's being filed in the proceedings.         But provided it

19     meets at least a colorable threshold for sealing, the Court

20     will allow a sealed filing.

21                 MR. CRANE:    The only issues that I would have in

22     there that I would have a problem with would be issues

23     concerning the specific people that he's arrested, their

24     propensity towards violence, their proximity to his

25     residence, and things of that nature.
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 1                 THE COURT:    That's fine.    You can file a redacted

 2     version on the public docket and then seek leave to file the

 3     unredacted version under seal.        Is that fair?

 4                 MR. CRANE:    Very well.

 5                 THE COURT:    Okay.

 6                 All right.    Counsel, anything else?

 7                 MS. BERKOWER:    Not from the government, Your

 8     Honor.

 9                 MR. ROLLINS:    Not from the defense, Your Honor.

10                 THE COURT:    Okay.   We will stand in recess, and

11     we'll see you on April 27th.        Provided the defendants waive

12     their appearance, let's plan to appear by Zoom.

13                 And, Mr. Crane, why don't you test out your system

14     between now and then and make sure that you can join us on

15     the video, okay?

16                 MR. CRANE:    I will.    I apologize, Your Honor.

17                 THE COURT:    No worries.

18                 All right.    We'll stand in recess.      Have a good

19     day.

20                      (Whereupon the hearing was

21                       concluded at 1:58 p.m.)

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 1                  CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                        I, LISA A. MOREIRA, RDR, CRR, do hereby

 4     certify that the above and foregoing constitutes a true and

 5     accurate transcript of my stenographic notes and is a full,

 6     true and complete transcript of the proceedings to the best

 7     of my ability.

 8                NOTE:    This hearing was held during the COVID-19

 9     pandemic stay-at-home restrictions and is subject to the

10     technological limitations of court reporting remotely.

11                        Dated this 24th day of June, 2021.

12

13
                                         /s/Lisa A. Moreira, RDR, CRR
14                                       Official Court Reporter
                                         United States Courthouse
15                                       Room 6718
                                         333 Constitution Avenue, NW
16                                       Washington, DC 20001

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